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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  IPCOM GMBH & CO. KG,                        §
                                              §
                                              §
               Plaintiff,                     §
                                              §
  v.                                          §   CIVIL ACTION NO.         2:20-CV-00322-JRG
                                              §   (LEAD CASE)
  AT&T INC, ET AL.,                           §
                                              §
               Defendants.                    §
                                              §
  NOKIA OF AMERICA CORPORATION,               §
  ERICSSON INC.                               §
                                              §
                                              §
               Intervenors.                   §

  v.                                          §   CIVIL ACTION NO.         2:20-CV-00323-JRG
                                              §   (MEMBER CASE)
  VERIZON COMMUNICATIONS INC, ET              §
  AL.,                                        §
                                              §
                                              §
               Defendants.                    §
                                              §
  NOKIA OF AMERICA CORPORATION,               §
  ERICSSON INC.                               §
                                              §
               Intervenors.                   §
                               ORDER MEMORIALIZING

       The Court held a Pretrial Conference in the above-captioned matter on Monday, February

 28, 2022 and Tuesday, March 1, 2022 regarding pending pretrial motions, motions in limine

 (“MILs”), and disputed exhibits between Plaintiff IPCom GmbH & Co. KG (“Plaintiff” or

 “IPCom”), Defendants AT&T Corp., AT&T Communications LLC, AT&T Mobility LLC, AT&T

 Mobility II LLC, AT&T Services, Inc., (collectively, “AT&T”) and Cellco Partnership d/b/a

 Verizon Wireless, (together with AT&T, “Defendants”), and Intervenors Nokia of America
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 Corporation and Ericsson Inc. (together, “Intervenors”) (all collectively, “the Parties”). (Dkt. Nos.

 172, 173, 174, 181, 182, 187, 188, 189, 273, 274, 275, 284, and 285). This Order memorializes the

 Court’s rulings on the aforementioned pretrial motions and MILs as announced from the bench

 into the record, including additional instructions that were given to the Parties. While this Order

 summarizes the Court’s rulings as announced into the record during the pretrial hearing, this Order

 in no way limits or constrains such rulings from the bench as reflected in the record. Accordingly,

 it is hereby ORDERED as follows:

                                      PRETRIAL MOTIONS

 1.     Defendants’ and Intervenors’ Motion for Summary Judgment of Unenforceability of
        the Patents-in-Suit, or in the Alternative, an Adverse Inference Jury Instruction
        (Dkt. No. 187)

        The motion was DENIED. (Dkt. No. 302 at 69:11–70:22).

        The Court noted that material questions of fact existed regarding whether IPCom or its

 former managing director Bernard Frohwitter possessed the required intent to spoliate evidence or

 act with unclean hands. (Id. at 70:13–18). The Court also noted that it would determine whether

 the pleadings and record established the proper basis to conduct a bench trial on any live equitable

 defense of unclean hands after the return and acceptance of a jury verdict. (Id. at 70:5–12).

 2.     Intervenor Nokia’s Motion for Partial Summary Judgment of Non-Infringement
        Based on License and Exhaustion (Dkt. No. 172)

        The Motion was DENIED. (Id. at 80:25–81:2).

        The Court found that disputed questions of fact—such as, for example, whether the

 products furnished by AT&T before January 1, 1993 were of the same kind of products as those

 accused in the instant case—precluded a grant of summary judgment. (See id. at 80:16–19).




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 3.     Defendants’ Motion for Summary Judgment of Ineligibility of U.S. Patent Nos.
        7,333,822 and 10,382,909 Under 35 U.S.C. § 101 (Dkt. No. 174)

        The Motion was DENIED. (Id. at 98:1–99:1).

        The Court found that the claims at issue were either directed to a nonabstract concept and

 thus survived step one of the Alice analysis or—if directed to an abstract concept—clearly raised

 factual issues at step two regarding whether the claims involve only technologies and activities

 that were well-understood, routine, and conventional as understood by a personal of ordinary skill

 in the art. (Id.). The Court noted that its precise ruling would be issued in a separate and

 forthcoming written order. (Id. at 98:14–24).

 4.     IPCom’s Motion to Strike the Expert Reports of John Bone (Dkt. No. 181)

        The motion was GRANTED. (Id. at 114:11–115:24).

        Regarding the Bone Rebuttal Damages Report, the Court struck Mr. Bone’s affirmative

 reasonable royalty opinion in paragraphs 197 through 316 of the report. (Id. at 114:14). The Court

 found that Mr. Bone’s opinions failed to follow the statutory mandate of 35 U.S.C. § 284 that

 damages must be no less than a reasonable royalty for the use made of the invention by the infringer

 because Mr. Bone constructed a hypothetical negotiation controlled by the non-infringing

 intervenors and utilized a royalty base comprising the Intervenor’s non-infringing sale of

 equipment rather than the allegedly infringing use of the invention made by the named Defendants.

 (Id. at 114:14–115:3).

        Regarding the Bone Licensing Report, the Court struck the report in its entirety. (Id. at

 115:8–19). The Court found that Mr. Bone lacked personal knowledge of the documents cited in

 the report, that the opinions provided therein allowed for no meaningful cross-examination, and

 that the report served simply as a conduit to introduce hearsay evidence into the record. (Id.).




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        The Court further noted that the portion of Dkt. No. 181 regarding the Deutsche Telekom

 refund litigation was WITHDRAWN and no longer disputed because the Parties agreed that such

 litigation would not be discussed during the case. (Id. at 106:13–23; 115:19–21).

        Finally, the Court DENIED Defendants’ and Intervenors’ request for leave to file a

 corrected Bone Rebuttal Damages Report finding that merely removing the non-infringing

 Intervenors from the hypothetical negotiation would not cure the flaw in the analysis because the

 affirmative reasonable royalty opinion and Georgia-Pacific factors were still tethered solely to the

 non-infringing sale of Intervenors’ telecommunication equipment. (Id. at 116:9–117:24).

 5.     IPCom’s Motion to Strike Portions of Dr. Daniel van der Weide’s Invalidity Expert
        Report (Dkt. No. 189)

        The motion was DENIED. (Id. at 132:1–17). The Court found the language in Defendants’

 and Intervenors’ stipulation to be clear and appropriately narrow such that their assertion of the

 V1.1.0 reference in the instant case did not amount to a breach of contract. (Id. at 132:3–10). The

 Court further found that Defendants’ and Intervenors’ position before the PTAB was not

 inconsistent with its position before this Court such that a finding of judicial estoppel was

 inappropriate. (Id. at 132:11–14). Finally, the Court found equitable estoppel inapplicable because

 IPCom was not surprised by Defendants’ and Intervenors’ use of the V1.1.0 reference given

 IPCom’s prior arguments regarding the same before the PTAB. (Id.).

 6.     IPCom’s Motion to Strike Paragraph 154 of the Expert Report of Dr. Stephen Wicker
        (Dkt. No. 188)

        The motion was GRANTED-IN-PART. (Id. at 132:18–133:10).

        The Court struck the phrase “and not disclosed them to his patent attorney” from the second

 sentence in paragraph 154 such that the surviving portion of the sentence reads: “Mr. Laumen

 admitted that he had received numerous references from the 3GPP standards body.” (Id.). Other



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 than striking that select phrase from the second sentence of paragraph 154, the Court declined to

 otherwise alter or strike Dr. Wicker’s report. (Id.).

 7.       IPCom’s Motion for Partial Summary Judgment on Defendants’ Equitable Estoppel,
          Waiver, and Acquiescence Affirmative Defenses (Dkt. No. 182)

          The motion was GRANTED-IN-PART and DENIED-IN-PART. (Id. at 130:12–19,

 137:22–138:21).

          The Parties informed the Court that the only live issue related to Defendant AT&T’s

 equitable estoppel defense and that the Defendants and Intervenors had withdrawn the other

 defenses at issue. (Id. at 134:19–135:16). Accordingly, with respect to the Defendants’ and

 Intervenors’ defenses of waiver and acquiescence, the motion was GRANTED AS

 UNOPPOSED. (Id. at 135:17–23).

          Regarding Defendant AT&T’s defense of equitable estoppel, the motion was DENIED.

 (Id. at 143:4–144:3). The Court found that factual issues precluded a grant of summary judgment

 and noted that, to the extent appropriate, AT&T may raise its equitable estoppel argument

 post-verdict before the Court. (Id. at 143:9–16).

 8.       Defendants’ Motion for Partial Summary Judgment of No Pre-Suit Willful
          Infringement (Dkt. No. 173)

          The Parties informed the Court that IPCom had withdrawn its claims for pre-suit willful

 infringement and the motion was WITHDRAWN. (Id. at 145:1–16).

                                       MOTIONS IN LIMINE

          It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

 argue the following granted MILs before the venire panel or the jury without prior leave of the

 Court:




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 I.     AGREED MOTIONS IN LIMINE (Dkt. No. 284)

        Before the pretrial conference, the Parties filed their initial Agreed Motions in Limine on

 February 11, 2022. (Dkt. No. 274). The Parties subsequently filed their second set of Agreed

 Motions in Limine (Dkt. No. 284) and filed a Joint Motion (Dkt. No. 285) requesting to withdraw

 their initial Agreed Motions in Limine. At the pretrial conference, the Court GRANTED the Joint

 Motion (Dkt. No. 285) and accordingly the initial Agreed MILs in Dkt. No. 274 were

 WITHDRAWN. (Dkt. No. 302 at 145:17–146:12).

        Having considered the second Agreed Motions in Limine (Dkt. No. 284), the Court rules

 that the following MILs are GRANTED-AS-AGREED. Without prior leave of the Court the

 Parties and the Parties’ fact and expert witnesses are precluded from mentioning or raising the

 following matters before the jury:

 Agreed MIL 1          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion regarding the existence of or any statements made during
                       prior settlement negotiations or mediation between the parties. This
                       does not preclude the admission of executed agreements involving a
                       party to the suit, nor the circumstances or negotiations leading to such
                       agreements.

 Agreed MIL 2          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion regarding the use of jury consultants, shadow jurors, or
                       focus groups.

 Agreed MIL 3          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion regarding infringement under the doctrine of equivalents.

 Agreed MIL 4          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion regarding any alleged willfulness of intervenors Nokia and
                       Ericsson.

 Agreed MIL 5          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion regarding DT’s antitrust litigation against IPCom in
                       Europe.

 Agreed MIL 6          No party or witness shall offer any evidence, testimony, argument, or
                       suggestion that IPCom is entitled to damages for patents not in suit.

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 Agreed MIL 7     No party or witness shall make any inflammatory or misleading
                  statements about the “clear and convincing” evidence standard beyond
                  how the Court defines it for the jury. For example, no party or witness
                  shall compare the “clear and convincing” standard for invalidity to the
                  standard for child removal under the Texas Family Code.

 Agreed MIL 8     IPCom and its witnesses shall not characterize Defendants or
                  Intervenors’ conduct as “theft,” “stealing,” “pirating,” or any similar
                  terms.

 Agreed MIL 9     No party or witness shall offer any evidence, testimony, argument, or
                  suggestion regarding investigations of any party conducted by
                  government or regulatory agencies, such as the Department of Justice
                  or the European Commission, or any settlements resulting from such
                  investigations. For example, no party or witness shall reference
                  Ericsson’s settlement resolving the Department of Justice’s
                  investigation into violations of the Foreign Corrupt Practices Act.

 Agreed MIL 10    No party or witness shall offer any evidence, testimony, argument, or
                  suggestion regarding AT&T’s affiliation with media companies.

 Agreed MIL 11    No party or witness shall offer any evidence, testimony, argument, or
                  suggestion regarding any other party’s business practices that are not
                  relevant to this litigation or the patents-in-suit, including, for example,
                  any Defendants’ ability to slow user data transfer speeds.

 Agreed MIL 12    No party or witness shall offer evidence, testimony, or argument that
                  the party previously shielded via a claim of privilege.

 Agreed MIL 13    No party or witness shall offer any evidence, testimony, argument, or
                  suggestion regarding any prior or pending inter partes review (IPR)
                  proceedings. This does not preclude reference to any statements made
                  therein, which shall be presented as statements made in ‘another
                  proceeding,’ or similar.

 Agreed MIL 14    No party or witness shall offer any evidence, testimony, argument, or
                  suggestion that the existence of a license implies that the Defendants or
                  Intervenors infringe the asserted patents.

 Agreed MIL 15    Fact witnesses, including Christoph Schoeller and Pio Suh, shall not
                  offer expert opinions on the hypothetical negotiation or on the
                  comparability of the DT license to the hypothetical negotiation in this
                  case.




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 Agreed MIL 16       No party or witness shall offer any evidence, testimony, argument, or
                     suggestion regarding licenses with non-carriers executed after the close
                     of fact discovery. The parties agree that if IPCom executes any
                     license(s) with a carrier after the close of fact discovery, if they are
                     unable to reach an agreement, the parties will seek the Court's
                     guidance in terms of the admissibility of said license(s).

 Agreed MIL 17       No party will ask questions during voir dire seeking to commit
                     prospective jurors to a particular range or amount of damages. This
                     MIL does not preclude asking the jury if they would be able to award
                     damages in the ‘tens of millions of dollars’ if the evidence supported
                     such an award.

 Agreed MIL 18       No party or witness will offer any evidence, testimony, argument, or
                     suggestion regarding Defendants or Intervenors’ total company
                     revenues, profits or net worth.

 Agreed MIL 19       Pejorative references to IPCom or its business model are precluded
                     (e.g., “patent troll,” “nonpracticing entity,” “patent assertion entity,”
                     “litigious”). This MIL does not preclude references to IPCom as being
                     a “patent licensing entity” or “patent licensing company.”

 Agreed MIL 20       Exclude evidence, argument, or implication that the accused
                     instrumentalities do not infringe because Defendants and/or
                     Intervenors have their own patents that cover such instrumentalities
                     (e.g., base stations, MMSC’s, SMSC’s, etc.).

 Agreed MIL 21       Exclude argument or insinuation that a damages award would drive up
                     consumer prices, cause layoffs, or have negative impacts on the
                     economy in general.

 Agreed MIL 22       Preclude disparagement of the PTO or examiners, e.g., overworked,
                     incompetent, generally poor quality of examination.

 Agreed MIL 23       Exclude evidence, testimony, argument, or suggestion in the presence
                     of the jury regarding the overall revenues or profits from Defendants’
                     wireless services or sales of equipment.

 II.    PLAINTIFF’S DISPUTED MOTIONS IN LIMINE (Dkt. No. 275)

 Plaintiff’s MIL 1   Exclude evidence or argument concerning alleged discovery
                     wrongdoing by IPCom, including that IPCom failed to produce Hitachi
                     licenses, Bosch licenses, and/or Frohwitter emails, or attempted to
                     shield such materials from discovery.

        The MIL was GRANTED. (Dkt. No. 302 at 148:6–18).

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          The Court noted that such evidence carries a very high risk of prejudice depending on the

 context of its use. Accordingly, the Court will exercise its role as a gatekeeper and require the

 Parties to approach and explain its probative value before offering such evidence before the jury.

 (Id.).

 Plaintiff’s MIL 2      Exclude evidence, argument, or insinuation that IPCom, its
                        predecessors, or the inventors breached a duty to disclose patents to
                        standards setting organizations (e.g., ETSI, 3GPP, 3GPP2, WAP
                        Forum).

          The MIL was GRANTED. (Id. at 150:4–5).

          The Court noted that testimony or evidence that certain patents were not contributed to a

 standard setting body is permissible, but that the Court must be actively involved and grant advance

 leave before any recitation to the jury that there was a duty to disclose that was affirmatively

 breached. (Id. at 149:2–150:3).

 Plaintiff’s MIL 3      Exclude evidence, argument, or insinuation that IPCom, its
                        predecessors, or the inventors withheld or failed to disclose prior art to
                        the patent office.

          The MIL was GRANTED AS AGREED and announced in the record. (Id. at 150:19–21).

          The Parties reached an agreement that “[D]efendants can state that inventors possessed

 prior art and can show which art was and was not before the patent office but cannot say that the

 inventor did not give the reference to a patent to the patent attorney; i.e., cannot connect the dots

 between the prior facts.” (Id. at 150:11–16).

 Plaintiff’s MIL 4      Exclude evidence or argument concerning IPCom’s ownership,
                        investor structure, and sources of funding.

          The MIL was GRANTED. (Id. at 152:11–17).

          The Court noted the Parties may offer a generic background review of the ownership and

 history of the asserted patents. However, beyond this the Court will act as an active gatekeeper to



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 ensure that the prejudicial effect of going into the financial structures of the Parties does not

 outweigh its probative value. (Id. at 152:1–153:1).

 Plaintiff’s MIL 5       Exclude evidence or argument concerning which persons or entities
                         will receive the proceeds from any judgment (except to show witness
                         interest or bias).

         The MIL was GRANTED. (Id. at 155:23–156:7).

         The Court noted that the Parties must seek leave of Court before attempting to assert or

 imply that an individual not then on the witness stand was less than unbiased or fair minded

 because of a financial interest in the case. (Id.).

 Plaintiff’s MIL 6       Exclude evidence or argument concerning other litigations involving
                         IPCom, except for the original litigation between IPCom and Deutsche
                         Telekom.

         The MIL was GRANTED. (Id. at 163:11–20).

         The Court noted that the Parties’ expert witnesses on damages (as applied to all expert

 witnesses) are limited to testifying affirmatively within the four corners of their reports and are

 subject to being cross-examined both as to their testimony and the material included within their

 reports. (Id.).

 Plaintiff’s MIL 7       Preclude mention of patents, patent claims, and accused products that
                         have been dropped.

         The MIL was GRANTED. (Dkt. No. 303 at 13:3–8).

         The Court noted that it would act as a gatekeeper and, to the extent that IPCom opens the

 door to issues related to patents that have formerly been dropped from the case, would allow

 Defendants and Intervenors to respond proportionately and as the Court deems appropriate. (Id.).

 Plaintiff’s MIL 8       Exclude evidence or argument that an expert’s opinion has been
                         excluded or found to be unreliable in this or any other lawsuit.

         The MIL was GRANTED AS AGREED. (Dkt. No. 302 at 165:13–14).



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        Based on IPCom’s representation that it will not seek to bolster its expert testimony based

 on those experts having employed similar methodologies in other litigations, Defendants withdrew

 their opposition to Plaintiff’s MIL number 8. (Id. at 165:8–12).

 Plaintiff’s MIL 9      Exclude evidence or argument concerning IPCom’s pre-suit
                        correspondence with Defendants and Intervenors.

        The MIL was DENIED. (Id. at 168:21–22).

        The Court noted pre-suit conduct may be relevant to Plaintiff’s claims of post-suit

 willfulness. (See id. at 167:7–24).

 Plaintiff’s MIL 10     Preclude argument or insinuation that the accused instrumentalities do
                        not infringe because they implement technical standards developed by
                        parties other than IPCom, its predecessors, or the inventors.

        The MIL was DENIED as to the fact that IPCom did not contribute to the standard at issue

 or help develop the relevant standard. (Id. at 173:24–174:1).

        However, the MIL was GRANTED to the extent that there is discussion beyond the fact

 that IPCom did not develop the standard—such as insinuations that Defendants developed the

 standard and therefore do not infringe. (Id. at 174:1–175:12).

 Plaintiff’s MIL 11     Exclude evidence or argument concerning absent witnesses not under
                        the control of a party.

        The MIL was GRANTED as clarified into the record. (Id. at 179:15–16).

        Specifically, the Court noted that it would not preclude the Parties from showing that a

 witness has testified to something about which they lack personal knowledge but will require leave

 of Court before a party goes on to identify the individual who possesses the personal knowledge

 that the testifying witness lacks. (Id. at 179:4–9).

 Plaintiff’s MIL 12     Exclude evidence or argument that the Intervenors are accused
                        infringers, the real defendants, or similar.

        The MIL was GRANTED AS AGREED. (Id. at 179:20–21).

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        The Parties informed the Court that Defendants had withdrawn their opposition to

 Plaintiff’s MIL number 12. (Id. at 179:18–19).

 III.   DEFENDANT’S AND INTERVENORS’ DISPUTED MOTIONS IN LIMINE (Dkt.
        No. 273)

 Defendants’ MIL 1             Expert’s previous or current retention by the opposing party or
                               its law firm(s).

        The MIL was GRANTED. (Id. at 184:6–24).

        The Court noted that this MIL applies mutually—both sides are precluded from discussing

 the number of times any experts worked for either a law firm or a party in the case without prior

 leave of Court. (Id. at 184:6–24).

 Defendants’ MIL 2             Licenses cannot be used to imply infringement.

        The MIL was GRANTED. (Id. at 194:2–5).

        The Court prohibited the Parties from arguing that licenses and their use by others implies

 that the Defendants infringe the asserted patents; however, this MIL is not intended to prevent

 IPCom from offering evidence related to the value of its patented technology. (Id. at 194:2–21).

 Defendants’ MIL 3             Defendants’ overall revenues or profits.

        The MIL was GRANTED AS AGREED. (Id. at 195:1–3).

        The Parties informed the Court that Defendants MIL number 3 was unopposed. (Id. at

 194:22–25).

 Defendants’ MIL 4             Opinions as to damages, including the amount of a reasonable
                               royalty, the royalty base, recovery of enhanced damages,
                               Defendants’ or third parties’ state of mind, or comparable
                               licenses by fact witnesses.

        The MIL was DENIED. (Id. at 199:6–7).




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        The Court noted that it would enforce the Federal Rules of Evidence and the Federal Rules

 of Civil Procedure, and no separate MIL was necessary to prevent a fact witnesses from offering
    .
 inappropriate opinion testimony. (Id. at 196:20–25).

        If the Parties desire to introduce any evidence or argument or otherwise raise or mention

 any of the foregoing subjects addressed by the granted MILs set forth herein and before the jury,

 they must first approach the bench and obtain a ruling granting leave from the Court. The above

 resolves all remaining motions in limine. All remaining MILs not covered hereby or otherwise

 addressed by the Court on the record are DENIED AS MOOT.


      So ORDERED and SIGNED this 15th day of March, 2022.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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